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           In the United States Court of Federal Claims
                                   No. 09-827C
                               Filed: May 5, 2010
                             Reissued: May 14, 2010∗
                              TO BE PUBLISHED
*******************************************
                                            *     Federal Acquisition Regulation 9.1
                                            *        (Responsible Prospective Contractors);
BENEFITS CONSULTING ASSOCIATES, LLC, *            Federal  Acquisition Regulation 15.201
                                            *        (Exchanges with Industry Before Receipt
      Plaintiff,                            *         of Proposals);
                                            *     Federal  Acquisition Regulation 15.305
v.                                          *        (Proposal Evaluation);
                                            *     Federal  Acquisition Regulation 15.306
THE UNITED STATES,                          *        (Exchanges with Offerors After Receipt
                                            *         of Proposals);
      Defendant,                            *     Federal Acquisition Regulation 15.506
                                            *        (Post-Award Debriefing of Offerors);
and                                         *     Federal Acquisition Regulation 52.215-8
                                            *        (Order of Precedence – Uniform Contract
BENALYTICS CONSULTING GROUP,                *         Format);
                                            *     Federal Acquisition Regulation 52.219-9
      Defendant-Intervenor.                 *        (Small Business Subcontracting Plan);
                                            *     Intervenor, RCFC 24(a);
                                            *     Judgment on the Administrative Record,
                                            *         RCFC 52.1;
                                            *     Post-Award   Bid Protest;
                                            *     Standing.
*******************************************

Isaias Cy Alba, IV, Piliero Mazza PLLC, Washington, D.C., Counsel for Plaintiff.

Joshua Ethan Kurland, United States Department of Justice, Civil Division, Washington, D.C.,
Counsel for Defendant. Angela E. Clark and John P. Sholar, United States Securities and
Exchange Commission, Washington, D.C., Of Counsel.

Holly Emrick Svetz, Womble Carlyle Sandridge & Rice PLLC, Tysons Corner, Virginia,
Counsel for Defendant-Intervenor.




       ∗
         On May 5, 2010, the court issued this Memorandum Opinion and Final Order under seal
and instructed the parties to propose any redactions on or before the end of business on May 12,
2010. On May 14, 2010, this Memorandum Opinion and Final Order is being reissued for
publication with redactions, indicated by the designation “[deleted].”
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                     MEMORANDUM OPINION AND FINAL ORDER

BRADEN, Judge.

       On December 1, 2009, a post-award bid protest was filed in the United States Court of
Federal Claims challenging an August 19, 2009 award by the United States Securities and
Exchange Commission (“SEC”) of an employee Supplemental Health Benefits Program Contract
with an estimated value of [deleted] over the potential five year term. AR at 2168.

I.     RELEVANT FACTUAL BACKGROUND.1

       A.      The Solicitation.

       On February 27, 2009, the SEC posted a notice in advance of Solicitation Number
SECHQ1-09-R-0076 (“Solicitation”) for a Supplemental Health Benefits Program (“SHBP”)
Contract (“SHBP Contract”). AR at 2. This notice stated that the “contractor shall be required
to manage, market, and administer the SHBP [Contract] in its entirety.” AR at 2.

        On April 22, 2009, the SEC Office of Human Resources issued a Solicitation requiring
offerors to “provide SEC employees with a . . . SHBP consistent with the requirements of Title
26 of the Internal Revenue Code, Subtitle A, Chapter 1, Subchapter B, Part III, Section 125.”
AR at 29. The Solicitation’s Scope of Work provided for one base contract year and four one-
year options. AR at 23-27. The Solicitation allowed for a price adjustment over the term of the
SHBP Contract, so long as any adjustment was subject to mutual agreement of the parties and a
written modification. AR at 28.

        The April 22, 2009 Solicitation also provided that the SHBP “shall consist of (1) a dental
plan and a vision plan that the SEC will provide to all employees and their eligible dependants
nationwide; and (2) a package of voluntary benefits paid for entirely by the employee to include
at minimum short- and long-term disability insurance.” AR at 29. For both the dental plan and
the vision plan, contractors were required to provide care from at least “A” rated insurance
companies under either: “(1) an indemnity plan2 or (2) a managed care plan.”3 AR at 33-34. In
addition, the Solicitation required that the SHBP contractor retain a full-time on-site customer
service representative, that would have access to covered employees through a web application
allowing employees direct online access to their personal SHBP accounts, to review personal

       1
         The facts cited herein were derived from the December 11, 2009 Administrative Record
and the January 4, 2010 Supplemental Administrative Record (“AR 1-5602”).
       2
        Under an indemnity plan, premiums are paid to an insurance company that, in turn, pays
medical professionals for the treatments provided. AR at 33.
       3
        Under a managed care plan, patients are required to select from a pool of providers. AR
at 33. A managed care plan can be either a Preferred Provider Organization or a Health
Maintenance Organization. AR at 33.


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benefits information, complete automated forms, and submit benefits transactions electronically.
AR at 33-34.

        In addition, the Solicitation required that the on-site customer service representative: (1)
verify benefit eligibility and answer employee questions; (2) assist employees with enrollment
and coordination; (3) assist insured employees with claims and resolve errors; (4) field customer
service calls; and (5) distribute benefit availability information. AR at 36. The contractor’s web
application was to be designed to eliminate the SEC’s need to create, staff, and maintain an
information technology infrastructure. AR at 36. The Solicitation also required a detailed
management plan that ensured the proper flow of information between the agency and the
contractor and efficient internal management administration, as required by the Consolidated
Omnibus Budget Reconciliation Act of 1986, Pub.L. No. 99-272, 100 Stat. 82 (“COBRA”). AR
at 36.

        The Solicitation further required that offerors submit a Business Proposal and a Technical
Proposal separately. AR at 76. The Business Proposal was required to include: (1) a complete
and signed Standard Form 33; (2) an acknowledgement of all Amendments; (3) Pricing/Costs;
(4) Representations and Certifications; (5) the offeror’s Tax Payer Identification Number; (6) a
statement regarding financial condition, ratings from A.M. BEST, MOODY’S STANDARD & POORS,
and FITCH, as well as ratings for proposed subcontractors; (7) the offeror’s most recent financial
statement; (8) corporate information/structure/plans for mergers and sales; (9) a brief narrative of
all applicable discounts and profit sharing programs for proposed dental and vision insurance
plans; (10) complete and signed non-disclosure agreements for the Company and Employee; and
(11) a Subcontracting Plan in accordance with Federal Acquisition Regulations (“FAR”) 52.219-
9 (Small Business Subcontracting Plan). AR at 76-77.

        The Technical Proposal was required to address the Solicitation requirements in a
“straightforward, complete, and concise manner.” AR at 77. The Technical Proposal was not to
refer to the pricing requirements of the SHBP, but could address applicable group discounts that
may apply to voluntary benefits. AR at 77. Offerors were instructed to divide the Technical
Proposal into three parts: (1) Technical Capability; (2) Past Performance; and (3) Management
Approach. AR at 77-78.

       All offers were to be evaluated utilizing a “two-tier approach:” first, by a Technical
Evaluation Panel (“TEP”); and then by a Source Selection Authority (“SSA”). AR at 820.

       B.      The Technical Evaluation Panel Evaluation.

               1.      Duties.

        The TEP’s duties were to “ensure a comprehensive evaluation” of each offeror’s
submission in accordance with the Source Selection Plan and the evaluation factors described in
the Solicitation, and to:




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             •   Maintain a full commitment to the evaluation process until the evaluation
                 was complete, a decision was reached by the SSA, and the contract was
                 awarded;
             •   Evaluate each proposal in an impartial and equitable manner and report
                 findings to the TEP Chair;
             •   Evaluate proposals based on the information provided;
             •   Evaluate each proposal only against the established evaluation criteria and
                 ensure that proposals are not compared against one another;
             •   Identify and fully document proposal strengths, weaknesses, and
                 clarifications, as well as provide an overall assessment of each proposal;
             •   Participate in and/or assist in discussions and debriefings as required by
                 the Contracting Officer.

AR at 821.

        The TEP was to rate the proposals, based on how well the offerors met written and oral
submissions and past performance information outlined in the Solicitation. AR at 821.The TEP
then was required to prepare a narrative description of the strengths, weaknesses, and any areas
requiring clarification. AR at 823. The TEP Chair was responsible for writing a Final
Evaluation Report to be submitted to the SSA. AR at 827.

                 2.     Evaluation Criteria.

        The Solicitation required the TEP to review all proposals, pursuant to the terms of the
Solicitation and FAR Part 15, based on the following technical factors: (1) Technical Capability;
(2) Past Performance; and (3) Management Approach. AR at 77, 85, 1518. Technical Capability
was more important than Past Performance; Past Performance was more important than
Management Approach. AR at 85.

          The following table summarizes the adjectival ratings to be assigned to each evaluation
factor:

 Adjectival                                           Definition
   Rating
Outstanding - The proposed approach indicates an exceptionally thorough and
            comprehensive understanding of the program goals, resources, schedules, and
            other aspects essential to performance of the program.
            - In terms of the specific factor, the proposal contains strengths, exceptional
            features, or innovations that should substantially benefit the program.
            - There are no weaknesses or deficiencies.
            - The risk of unsuccessful contract performance is extremely low.
Commendable - The proposed approach indicates a thorough understanding of the program
            goals and the methods, resources, schedules, and other aspects essential to
            performance of the program.
            - The proposal has major strengths and/or minor strengths, which indicate the
            proposed approach will benefit the program.


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               - Weaknesses, if any, are minor and are more than offset by strengths.
               - The risk of unsuccessful performance is very low.
Satisfactory   - The proposed approach indicates an adequate understanding of the program
               goals and the methods, resources, schedules, and other aspects essential to
               performance of the program.
               - There are few, if any, exceptional features to benefit the program.
               - The risk of unsuccessful performance is low.
               - Weaknesses are generally offset by strengths.
Marginal       - The proposed approach indicates a superficial or vague understanding of the
               program goals and the methods, resources, schedules, and other aspects
               essential to performance of the program.
               - The proposal has weaknesses that are not offset by strengths.
               - The risk of unsuccessful contract performance is moderate.
Unsatisfactory - The proposed approach indicates a lack of understanding of the program goals
               and the methods, resources, schedules, and other aspects essential to
               performance of the program.
               - Numerous weaknesses and deficiencies exist.
               - The risk of unsuccessful performance is high.

AR at 824-25.

                      a.     The “Technical Capability” Factor.

        The “Technical Capability” Factor required offerors to provide a matrix and a “narrative
that describes proposed dental, vision, and voluntary benefit plans.” AR at 77. Proposals were
to be evaluated based on the degree to which they demonstrated an understanding of and met the
technical requirements of the Solicitation. AR at 85.

                      b.     The “Past Performance” Factor.

        The “Past Performance” Factor required the TEP to evaluate each offeror’s past
performance and how those performances relate to an offeror’s ability to perform the SHBP
Contract. AR at 85. This factor also included a review of the size of past clients and responses
to a questionnaire provided by the TEP. AR at 77-78. Pursuant to FAR 15.305, if an offeror did
not have a record of past relevant performance or comparable information, the offeror would not
be evaluated either favorably or unfavorably, but instead receive a neutral rating. AR at 78.

                      c.     The “Management Approach” Factor.

        The “Management Approach” Factor required the TEP to evaluate the overall soundness
and effectiveness of the management approach of each offeror. AR at 85. The Solicitation
required offerors to provide a narrative that specifically addressed marketing, communication,
implementation, quality assurance, domestic partnership certification, and overall management
of the contract. AR at 78.




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                3.     The Initial Review.

        On May 8, 2009, the SEC’s Contract Specialist hosted a SHBP pre-proposal conference
with interested offerors. AR at 198-205. On May 29, 2009, offerors were notified that only
those with proposals “in the competitive range” would be afforded an opportunity to make an
oral presentation about their technical capabilities and management approaches. AR at 367-68.
Offerors also were advised that the TEP would not specifically score the oral presentation, but
the presentation would be taken into consideration when evaluating an offeror’s technical
proposal. AR at 79.

       On June 1, 2009, six timely proposals were submitted: Benefits Consulting Associates,
LLC (“BCA” or “Plaintiff”); Benalytics Consulting Group, LLC (“Benaltyics” or “Defendant-
Intervenor”); [deleted]; [deleted]; [deleted]; and [deleted].4 AR at 1518.

                       a.     Benefits Consulting Associates, LLC’s Initial Proposal.

      BCA’s initial proposal received a “Commendable” rating from the TEP with respect to
Technical Capability, a “Neutral” rating for Past Performance, and a “Commendable” rating for
Management Approach. AR at 1520-22.

        With respect to Technical Capability, the TEP was particularly impressed with BCA’s
vision benefits/discounts, preventative dental care, and voluntary benefits plan, all of which
exceeded the Solicitation’s requirements. AR at 1520-21. In addition, the TEP viewed the web
portal with a single point of access for general staff and a second access route for HR staff, as a
strength. AR at 1520-21. The TEP, however, assigned BCA a “Neutral” rating for Past
Performance, even though BCA had “outstanding” client reviews. AR at 1521, 1587-90. With
respect to Management Approach, the TEP commended BCA’s “well defined, concise
management plan that addressed all critical points.” AR at 1521. In addition, BCA’s proposal
included a well developed Implementation Plan, with a backup to the customer service
representative. AR at 1521. The TEP Chair’s June 8, 2009 Memorandum did not note any
weaknesses in BCA’s Management Approach. AR at 1522.

        The TEP, however, did have some concerns about BCA’s initial proposal. AR at 1520-
22. Among those concerns were: the high cost of the program, compared to Benalytics;
[deleted]; [deleted]; [deleted]; [deleted]; BCA did not include the ratings of its providers;
[deleted]; and [deleted]. AR at 1511-16. The TEP Chair also raised technical questions about:
[deleted]; insufficient eyeglass frame discounts; [deleted]; [deleted]; and [deleted]. AR at 1521-
22.

       Overall, the TEP gave BCA’s initial proposal a “Commendable” rating. AR at 1518.




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           [deleted]’s proposal was deemed unresponsive and was not evaluated. AR at 1518.


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                      b.     Benalytics Consulting Group, LLC’s Initial Proposal.

       Benalytics’ initial proposal received a “Satisfactory” rating from the TEP with respect to
Technical Capability, a “Neutral” rating for Past Performance, and a “Satisfactory” rating for
Management Approach. AR at 1522-23.

       As for Technical Capability, the TEP viewed the variety of voluntary benefits in
Benalytics’ proposal as a strength, as well as the fact that the vision plan exceeded minimum
requirements. AR at 1522. The TEP assigned BCA a “Neutral” rating for Past Performance,
although the questionnaire returned by two prior clients gave Benalytics “outstanding” reviews.
AR at 1556-65. With respect to Management Approach, the COBRA administration, training
sessions, and HR-only web portal access, were considered strengths. AR at 1523.

        The TEP, however, also expressed concerns about Benalytics’ initial proposal. AR at
1522-23. For example, one TEP member noted that [deleted]. AR at 1510. [deleted]. AR at
1510. [deleted]. AR at 1522. The TEP’s general concern from a management standpoint was
that there was a lack of clarity and organizational definition in the proposal. AR at 1523.

       Overall, the TEP assigned BCA’s initial proposal a “Satisfactory” rating. AR at 1518.

              4.      The Competitive Range Determination,                  Subsequent      Oral
                      Presentations, and Discussions.

        The TEP Chair’s June 8, 2009 Memorandum summarized the TEP’s evaluation of the
five responsive proposals, as follows:

                     Technical           Past               Management         Overall
                     Capability          Performance        Approach
BCA                  Commendable         Neutral            Commendable        Commendable
Benalytics           Satisfactory        Neutral            Satisfactory       Satisfactory
[deleted]            [deleted]           [deleted]          [deleted]          [deleted]
[deleted]            [deleted]           [deleted]          [deleted]          [deleted]
[deleted]            [deleted]           [deleted]          [deleted]          [deleted]

AR at 1518-25.

       Based on these evaluations, the TEP Chair recommended that BCA and Benalytics be
included in the competitive range and invited to give oral presentations. AR at 1525, 2163-64.

        On June 18, 2009, BCA made an oral presentation. AR at 1622. During subsequent
discussions, the TEP raised several concerns about BCA’s proposal. AR at 1734-36, 1764-70.
The primary concern was BCA’s failure to provide ratings for dental and vision providers,
[deleted]. AR at 1743. BCA responded that ratings were not necessary, because [deleted] was a
non-profit organization. AR at 1742-43. Instead, BCA stated that it would provide other
financial information about [deleted], and would provide ratings for [deleted]. AR at 1743. The
TEP also informed BCA that some of the proposed discounts for eyeglass frames failed to meet


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the minimum requirements of the Solicitation. AR at 1521. BCA responded that, if awarded the
contract, [deleted] would provide appropriate discounts. AR at 1741.

       On June 19, 2009, Benalytics made an oral presentation. AR at 1651. During subsequent
discussions, the TEP also asked Benalytics to provide additional financial information. AR at
1703, 1762. In addition, the TEP expressed concern about Benalytics’ ability to comply with
Section 508 of the Rehabilitation Act of 1973, 29 U.S.C. § 794d, that requires agencies to ensure
that disabled and non-disabled federal employees have access to and use of comparable
information and data. AR at 1703. Benalytics responded that it would be in full compliance.
AR at 1703.

              5.      The Final Review.

       On June 21, 2009, BCA and Benalytics were advised to submit any Final Proposal
Revisions on or before July 9, 2009. AR at 1796-1804. Both offerors also were informed that
the subsequent award of the contract would be made without engaging in any further discussions
or accepting any further proposal revisions. AR at 1798, 1802. On July 8, 2009, the due date
was extended to July 13, 2009. AR at 1805. On July 13, 2009, BCA and Benalytics submitted
timely Final Proposal Revisions that included responses to the questions previously raised. AR
at 1810, 1980.

                      a.     Benefits Consulting Associates, LLC’s Final Proposal.

       On July 13, 2009, BCA submitted a Final Proposal with responses to fifteen questions
raised in the initial review and debriefing process. AR at 1810-1813. Despite the TEP’s
concerns about the lack of provider ratings, BCA elected to remain with [deleted] and [deleted].
AR at 1810-13, 2164. To allay concerns about [deleted]’s lack of an “A” rating, BCA provided
audited January 30, 2009 financial statements for [deleted] and subsidiaries. AR at 1896.

        In the TEP’s Final Report, BCA was assigned a rating of “Satisfactory” for Technical
Capability, “Neutral” for Past Performance, and “Commendable” for Management Approach.
AR at 2158-59. As a result, BCA received a final rating of “Satisfactory.” AR at 2157.
Although the TEP again noted several strengths with BCA’s Technical Capability, the TEP
remained concerned about BCA’s proposal, because BCA represented that it was “impossible”
for the provider to modify the plan for “one specific group.” AR at 2158. Accordingly, the TEP
concluded that BCA was “unable to meet the SEC’s minimum required discount” for eyeglass
frames. AR at 2158. BCA received a final rating of “Neutral” for Past Performance, because the
references BCA provided were deemed not to be of relevant size, but no weaknesses were noted
with respect to Management Approach. AR at 2158.

                      b.     Benalytics Consulting Group, LLC’s Final Proposal.

        On July 13, 2009, Benalytics’ submitted a Final Proposal. AR at 1980. Benalytics
selected the following providers: Humana Specialty Benefits (“Humana”) for dental and vision
coverage; Principal Financial Group (“Principal”) for short-term and long-term disability
benefits; Liberty Mutual for group home and auto insurance; and Colonial Life for life insurance.



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AR at 2012-55. A.M. BEST5 gave: Colonial Life an “A-” rating; Humana an “A-” rating; Liberty
Mutual an “A” rating; and Principal an “A+” rating. AR at 2092.

       The TEP Final Report assigned Benalytics a rating of: “Commendable” for Technical
Capability; “Neutral” for Past Performance; and “Commendable” for Management Approach.
AR at 2159-60. Overall, Benalytics received a rating of “Commendable.” AR at 2157. The
TEP did not note any weaknesses with Benalytics’ Final Proposal and, except for Past
Performance, the TEP noted several strengths. AR at 2159-60.

        Regarding Technical Capability, the TEP determined that Benalytics exceeded the
Solicitation’s minimum requirements for dental, vision, and voluntary benefits in several aspects.
AR at 2159. The most impressive feature was a web portal that included a single point of access
for all services with two application interfaces, one for HR staff and one for general SEC staff.
AR at 2160. As for Past Performance, Benalytics received a “Neutral” rating, because
Benalytics did not provide any relevant examples specific to benefits administration. AR at
2160. With respect to Management Approach, the TEP found that Benalytics’ quality assurance
strategy was strong, because the proposal discussed HR’s access to the automated system and
included enhanced COBRA administration. AR at 2160.

                6.     The Final Recommendation.

       On July 15, 2009, the TEP Chair submitted a Final Report and Recommendation (“Final
Report”) recommending that the SSA award the SHBP Contract to Benalytics, because it “met
and/or exceeded the Solicitation’s minimum requirements and received an overall rating of
Commendable.” AR at 2160.

       C.       The Source Selection Authority Evaluation.

                1.     Duties.

       The SSA for the Solicitation (i.e., the Contracting Officer for the acquisition), was
required to:

            •   Review and approve the Source Selection Plan, the evaluation criteria, and
                the ranking of the evaluation criteria;
            •   Appoint the chair and members of the TEP and ensure that members are
                properly trained;
            •   Approve the assignment of Advisors At-Large to review specific portions
                of the proposals;
            •   Ensure that conflicts of interest or appearances of conflict did not exist;
            •   Provide the TEP with guidance and special instructions for conducting the
                evaluation and selection process;

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          A.M. BEST is a global credit rating agency dedicated to the financial and health-care
service industries. See http://www3.ambest.com/ratings/default.asp (last visited April 26, 2010).
The firm’s ratings are opinions, based on creditworthiness. Id.


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           •   Ensure that there was no premature or unauthorized disclosure of
               proprietary or source selection information;
           •   Ensure that the evaluation board properly evaluated the proposals against
               the stated evaluation criteria and monitored compliance with source
               selection “rules;”
           •   Decide whether to conduct discussions as defined in FAR Part 15.201 and
               how to conduct them;
           •   Evaluate “concurrently” all price proposals to identify strengths,
               weaknesses, and deficiencies;
           •   Conduct a debriefing of successful and unsuccessful offerors;
           •   Make the final award decision.

AR at 820-21, 827.

               2.     Criteria.

        The Solicitation specified that the offeror providing the “best value” to the SEC would be
awarded the SHBP Contract, based on: the Technical Capability of the proposal; the Past
Performance of the contractor; the contractor’s Management Approach; and the “reasonableness
and fairness” of the price. AR at 85. The three technical factors weighed together, however,
were considered more important than price. AR at 85. But, “the importance of price [increased]
as the technical merit of the [p]roposals [became] more equal.” AR at 85. The SEC reserved the
right to waive proposal “informalities and minor irregularities” and make multiple awards, but
could also reject any or all proposals if doing so was determined to be in the agency’s interest.
AR at 83. The Solicitation also allowed proposals to depart from stated requirements, but they
must clearly identify why the acceptance would be “advantageous” to the SEC. AR at 84. Any
deviations from the terms and conditions of the Solicitation were to be clearly identified and
explicitly defined. AR at 84.

               3.     Evaluation Of The Technical Evaluation Panel’s Recommendation
                      And Contract Award.

       On August 19, 2009, the SSA issued a Memorandum awarding Contract No. SECHQ1-
09-C-0076 to Benalytics for a fixed price of [deleted]. AR at 2182. Therein, the SSA discussed
concerns that the TEP had with BCA’s final proposal. AR at 2164. The TEP was impressed
with proposed dental and vision care options, including: preventative care treatments for covered
dependents up to 19 years of age; increased eyeglass and contact lens coverage; the fact that
BCA exceeded the minimum requirements for voluntary benefits; and a strong management
approach with a well developed implementation plan. AR at 2164. BCA’s failure to achieve the
required in-network eyeglass frame discount and provide an acceptable rationale for using a non
“A” rated vision provider, however, adversely affected the overall quality of the proposal. AR at
2164.

       In contrast, Benalytics “met and/or exceeded the SEC’s minimum requirements” and
“there were no weaknesses in the Benalytics’ technical approach.” AR at 2165. In addition, the
TEP was persuaded that: “Benalytics exceeded the SEC’s minimum requirements for dental


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major restorative care; Benalytics’ voluntary benefits offering exceeded minimum requirements;
and the web portal presented was impressive.” AR at 2165. Accordingly, the TEP considered
Benalytics lack of past performance as a neutral factor. AR at 2165. In addition, Benalytics
“had no weaknesses in their management approach,” as that proposal offered “enhanced COBRA
administration, strong communication, education, marketing and quality assurance plans.” AR at
2165.

        The following table summarizes BCA’s and Benalytics’ pricing proposals over the term
of the SHBP Contract:

                                  Benalytics        BCA                 Difference
              Base Year           [deleted]         [deleted]           9%
              Option Year One     [deleted]         [deleted]           16%
              Option Year Two     [deleted]         [deleted]           15%
              Option Year Three   [deleted]         [deleted]           15%
              Option Year Four    [deleted]         [deleted]           13%
              Total               [deleted]         [deleted]           14%

AR at 2165.

        Based on this comparative analysis, the SSA concluded that price was not dispositive, but
determined that “Benalytics’ prices are . . . fair and reasonable,” despite the 14% overall
difference between Benalytics’ and BCA’s proposals. AR at 2165. The SSA also determined
that Benalytics was “responsible within the meaning of FAR 9.1” and that “Benalytics does not
appear on the EPLS website and received a favorable [Dun] and Bradstreet Rating.” AR at 2166.
Based on the TEP’s evaluations and the SSA’s additional analysis, the SSA concluded that “it is
in the best interest of the Government to award Contract [No. SECHQ1-09-C-0076] to
Benalytics in the estimated amount of [deleted] for the base year, with a total estimated contract
value of [deleted].” AR at 2168.

       D.       The Post-Award Debriefing.

        By an August 20, 2009 letter, BCA was informed that Contract No. SECHQ1-09-C-0076
was awarded to Benalytics, because the SSA determined it “submitted the proposal considered to
be the best value to the Government, in accordance with the award criteria set forth in Section M
of the [S]olicitation.” AR at 2230. BCA also was informed that, if it desired a debriefing, in
accordance with FAR 15.506, BCA must submit a written request within three calendar days
following receipt of the letter. AR at 2230. On August 20, 2009, BCA requested a debriefing.
AR at 2231.

       On August 25, 2009, BCA was debriefed by telephone. AR at 2231. On August 26,
2009, BCA was informed in writing that BCA’s final proposal “failed to meet some of the SEC’s
minimum requirements for vision.” AR at 2233-35. First, the minimum discount for in-network
eyeglass frames was 45% off usual and customary charges up to $130 and 80% of balance over
$130. AR at 2233-35. BCA’s proposal, however, only included a discount of [deleted] for
frames up to [deleted], plus [deleted] off the amount over [deleted]. AR at 2233-35. On that


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basis alone, “BCA could have been considered nonresponsive and removed from the competitive
range based upon its failure to meet the SEC’s minimum requirement(s).” AR at 2234.
Nevertheless, BCA was included in the competitive range and provided an opportunity to
address this deficiency and other weaknesses. BCA also was notified that it failed to meet the
Solicitation’s requirement that all providers must receive a minimum rating of “A” or better. AR
at 2234. Finally, BCA was informed that Benalytics proposed an overall evaluated price 14%
lower than BCA and, in analyzing the Past Performance factor, the SSA was concerned about the
size of the firms that BCA previously serviced. AR at 2234-35. All of these factors together,
resulted in BCA receiving a final overall rating of “Satisfactory.” AR at 2235. In contrast,
Benalytics received a final rating of “Commendable.” AR at 2235.

II.    PROCEDURAL HISTORY.

       A.     At The Government Accountability Office.

       On August 31, 2009, BCA filed a protest with the United States Government
Accountability Office (“GAO”) of the August 19, 2009 award. AR at 3583. On September 25,
2009, the SEC filed an Agency Report, including the Solicitation and TEP evaluations. AR at
3614. On November 24, 2009, BCA withdrew the protest at the GAO. AR at 4056, 4058.

       B.     At The United States Court Of Federal Claims.

       On December 1, 2009, BCA filed a Complaint in the United States Court of Federal
Claims, under seal, alleging that the SEC improperly awarded Solicitation No. SECHQ1-09-R-
0076 to Benalytics. On the same day, BCA also filed: a Motion for a Protective Order; a Motion
for a Temporary Restraining Order; a Motion for a Preliminary Injunction; and a Motion for
leave to File Documents Under Seal. On December 1, 2009, Benalytics filed a Motion to
Intervene. On December 2 and December 10, 2009, the court convened initial status conferences
with the parties.

        During the December 10, 2009 status conference, the Government indicated that work on
Solicitation No. SECHQ1-09-R-0076 would not commence until March 15, 2010. On December
11, 2009, the court entered an Order: granting BCA’s Motion to File Documents Under Seal;
granting Benalytics’ Motion to Intervene; directing the parties to confer as to the scope and
content of the Administrative Record, in accordance with Axiom Resource Management,
Inc. v. United States, 564 F.3d 1374, 1379-81 (Fed. Cir. 2009); requiring the Government to file
the Administrative Record via CD-ROM, under seal, no later than December 11, 2009; and any
additional documents later identified as properly part of the Administrative Record by December
23, 2009; denying BCA’s Motion for a Temporary Restraining Order; and deferring ruling on
BCA’s Motion for a Preliminary Injunction.

       On December 11, 2009, the Government filed the Administrative Record via CD-ROM
and under seal. On December 23, 2009, the Government filed a Consent Motion For Extension
Of Time to file the remainder of the Administrative Record, that the court granted on December
28, 2009. On January 4, 2010, the Government filed the remainder of the Administrative Record
under seal.



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       On December 30, 2009, BCA filed a First Amended Complaint (“First Am. Compl.”),
concurrently with a Motion for Judgment on the Administrative Record (“Pl. Mot.”), and a
Memorandum in Support. On January 20, 2010, the Government filed a: Motion to Dismiss,
Opposition to Plaintiff’s Motion for Judgment on the Administrative Record, and Cross-Motion
for Judgment on the Administrative Record (“Gov. Mot.”). On the same date, Benalytics filed a
Motion for Judgment on the Administrative Record and Opposition to the Motion for Judgment
on the Administrative Record of Benefits Consulting Associates, LLC (“Int. Mot.”),
accompanied by a Memorandum in Support. On January 28, 2010, BCA filed a Response to the
Government’s and Benalytics’ Motions for Judgment on the Administrative Record (“Pl.
Resp.”). On February 5, 2010, the Government filed a Reply (“Gov’t Reply”). On the same
date, Benalytics also filed a Reply (“Int. Reply”).

        On January 14, 2010, the Government filed a Motion requesting the court to request a
GAO Advisory Opinion. On January 28, 2010, BCA filed a Consent Motion to Supplement the
Administrative Record. On February 12, 2010, the court held a status conference with the parties
to discuss these motions.

       On March 5, 2010, the Government filed a Status Report, indicating that, at the court’s
request, the SEC would not award Contract No. SECHQ1-09-C-0076 until April 30, 2010. On
March 8, 2010, the court denied the Government’s January 14, 2010 Motion Requesting a GAO
Advisory Opinion and deferred ruling on BCA’s January 28, 2010 Consent Motion to
Supplement the Administrative Record.

       On April 7, 2010, the court held an oral argument on the pending Motions for Judgment
on the Administrative Record (“4/7/10 TR 1-96”). On April 8, 2010, the court denied Plaintiff’s
December 1, 2009 Motion For Preliminary Injunction, allowing the SEC to award and
implement Contract No. SECHQ1-09-C-0076.              Order, Benefits Consulting Assocs.,
LLC v. United States, No. 09-827C (Apr. 8, 2010). The court advised the parties that a
Memorandum Opinion and Order regarding BCA’s December 30, 2009 Motion for Judgment on
the Administrative Record would follow.

III.   DISCUSSION.

       A.     Jurisdiction.

        Pursuant to 28 U.S.C. § 1491(b)(1), the United States Court of Federal Claims has
jurisdiction:

       to render judgment on an action by an interested party objecting to a solicitation
       by a federal agency for bids or proposals for a proposed contract or to a proposed
       award or the award of a contract or any alleged violation of statute or regulation
       in connection with a procurement or proposed procurement.
Id.

      The December 1, 2009 post-award bid protest Complaint in this case alleges that the
SEC’s October 6, 2009 contract award to Benalytics was “arbitrary, capricious and otherwise


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contrary to law and regulation,” in violation the Administrative Procedure Act, 5 U.S.C. § 706
(“APA”). Compl. ¶¶ 36-87; see also First Am. Compl. ¶¶ 37-91.

       B.      Standing.

               1.      The Plaintiff’s Standing.

        As a threshold matter, a plaintiff contesting the award of a federal contract must establish
that it is an “interested party” to have standing under 28 U.S.C. § 1491(b)(1). See Myers
Investigative & Sec. Servs. v. United States, 275 F.3d 1366, 1369-70 (Fed. Cir. 2002)
(“[S]tanding is a threshold jurisdictional issue[.]”). The United States Court of Appeals for the
Federal Circuit has construed the term “interested party” as synonymous with “interested party,”
as defined by the Competition in Contracting Act (“CICA”), 31 U.S.C. § 3551(2)(A). See Rex
Serv. Corp. v. United States, 448 F.3d 1305, 1307 (Fed. Cir. 2006) (citing decisions adopting the
CICA definition of “interested party” for 28 U.S.C. § 1491(b)(1) purposes). A two-part test is
applied to determine whether a protester is an “interested party:” (1) the protestor must show that
it was an actual or prospective bidder; and (2) the protester must have a direct economic interest
in the procurement. See Distrib. Solutions, Inc. v. United States, 539 F.3d 1340, 1344 (Fed. Cir.
2008) (“[T]o come within the [United States] Court of Federal Claims’ section 1491(b)(1) bid
protest jurisdiction, [the protester] is required to establish that it (1) is an actual or prospective
bidder, and (2) possesses the requisite direct economic interest.”) (citations omitted).

        In addition to establishing “interested party” status, a protestor must show that the alleged
errors in the procurement were prejudicial. See Labatt Food Serv., Inc v. United States, 577 F.3d
1375, 1378-79 (Fed. Cir. 2009) (“It is basic that ‘because the question of prejudice goes directly
to the question of standing, the prejudice issue must be reached before addressing the merits.’”);
see also Myers, 275 F.3d at 1370 (“[P]rejudice (or injury) is a necessary element of standing.”).

                       a.      The Parties’ Arguments.6

                               (1)     The Government’s Argument.

        The Government argues that BCA does not have standing, because BCA’s final proposal
failed to comply with the requirements of the Solicitation, by attempting to have the ratings of
“sister companies” imputed to [deleted]. Gov’t Mot. at 12. Proposals that fail to satisfy material
Solicitation terms may not form the basis of an award and BCA admits to such a failure. Id. If a
firm submits a nonresponsive bid, it has no chance of receiving the award and no standing to
protest. Id.; see also 4/7/10 TR at 7:8-13. Irrespective of the TEP’s decision to evaluate BCA’s
non-responsive proposal, that fact does not cure BCA’s lack of standing. Gov’t Mot. at 13.




       6
        Benalytics’ January 20, 2010 Motion For Judgment On The Administrative Record and
February 5, 2010 Reply did not challenge BCA’s standing.


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                              (2)     Plaintiff’s Response.

         BCA responds that it was an actual bidder. Pl. Resp. at 3. In addition, BCA’s economic
interests adversely were affected by the award of Contract No. SECHQ1-09-C-0076 to
Benalytics. Id. Therefore, BCA is an interested party. Id. Moreover, BCA has not admitted
that its proposal did not comply with the Solicitation. Id. Accordingly, BCA has standing to
bring this action. Id.

                              (3)     The Government’s Reply.

        BCA does not address the lack of standing arising from the nonresponsiveness of its bid,
but instead argues that standing is derived from the need for the court to address the merits.
Gov’t Reply at 2. BCA’s providers were unrated and BCA failed to meet the eyeglass frame
discount requirement. Id. at 3-4. Since BCA’s proposal was facially non-compliant, it does not
have standing to challenge any aspect of this procurement. Id.

                       b.     The Court’s Resolution.

        In this case, BCA was an actual bidder on Contract No. SECHQ1-09-C-0076 and the
SSA’s August 19, 2009 award to Benalytics directly affects BCA’s economic interests, rendering
BCA an “interested party” as a matter of law. See Distrib. Solutions, 539 F.3d at 1344.
Although six companies submitted proposals in response to the Solicitation, BCA was the only
firm, other than Benalytics, that the TEP determined was in the “competitive range.” AR at
1525. Because of this status, BCA had a “substantial chance” of being awarded the SHBP
Contract, despite the deficiencies in BCA’s initial proposal. See Bannum, Inc. v. United States,
404 F.3d 1346, 1358 (Fed. Cir. 2005) (“To establish prejudice [Plaintiff] was required to show
that there was a ‘substantial chance’ it would have received the contract award but for . . . errors
in the bid process.”) (citations omitted). Therefore, the threshold prejudice requirement is met.
Id. For these reasons, the court has determined that BCA has standing to pursue this bid protest
in the United States Court of Federal Claims.7

               2.      The Defendant-Intervenor’s Standing.

       The United States Court of Appeals for the Federal Circuit requires that the trial court
evaluate three factors in determining whether intervention is timely: “(1) the length of time
       7
          In the alternative, the Government also argues that “by admitting that [BCA’s] proposal
did not comply with one or more material [S]olicitation requirements, BCA fails to make a
legally sufficient claim for relief.” Gov’t Mot. at 12. BCA, however, does not concede that the
final proposal failed to comply with material terms and conditions of the Solicitation and the
SSA could have awarded Contract No. SECHQ1-09-C-0076 to BCA. Pl. Resp. at 2-3. The
court has determined that the First Amended Complaint satisfies the requirements of RCFC
12(b)(6) and the Government’s alternative argument concerns the merits of the protest. See E.W.
Bliss v. United States, 77 F.3d 445, 448 (Fed. Cir. 1996) (holding that “a proposal that fails to
conform to the material terms and conditions of the solicitation should be considered
unacceptable and a contract award based on such an unacceptable proposal violates the
procurement statutes and regulations”).


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during which the would-be intervenors actually knew or reasonably should have known of [their]
right[s;] (2) whether the prejudice to the rights of existing parties by allowing intervention
outweighs the prejudice to the would-be intervenors by denying intervention[;] (3) existence of
unusual circumstances militating either for or against a determination that the application is
timely.” Belton Indus., Inc. v. United States, 6 F.3d 756, 762 (Fed. Cir. 1993) (citations omitted;
certain alterations in original); see also RCFC 24(a)(2).8 In addition, our appellate court has
advised that “the requirements for intervention are to be construed in favor of intervention.” Am.
Mar. Transp., Inc. v. United States, 870 F.2d 1559, 1561 (Fed. Cir. 1989).

                        a.      Defendant-Intervenor’s Motion Was Timely.

       In this case, Benalytics filed a Motion To Intervene the same day BCA filed the
Complaint. Therefore, the court has determined that Benalytics’ December 1, 2009 Motion To
Intervene was timely. See RCFC 24(a).

                        b.      Defendant-Intervenor Has An Interest In The Contract Award
                                At Issue.

        Benalytics also has established “an interest relating to the . . . transaction that is the
subject of [this] action,” because Benalytics’ proposal was determined to be in the “competitive
range.” AR at 1525. Therefore, the court has determined that any final judgment in favor of
BCA necessarily would “impair” Benalytics’ “ability to protect its interest.” RCFC 24(a).

                        c.      Defendant-Intervenor’s Interest       Cannot    Adequately      Be
                                Represented By The Parties.

        Benalytics argues that neither BCA nor the Government adequately can represent
Benalytics’ interest. Int. Mot.; Int. Reply. The Government does not suggest otherwise.
Therefore, the court has determined that Benalytics’ interest cannot adequately be represented by
the parties. See RCFC 24(a).

                        d.      The Court’s Resolution.

       In addition to satisfying the jurisdictional requirements for standing, no party opposed
Benalytics’ motion and the court is unaware of any prejudice to the existing parties or unusual

        8
            Rule 24(a)(2) of the United States Court of Federal Claims provides, in relevant part,
that:

        On timely motion, the court must permit anyone to intervene who . . . claims an
        interest relating to the property or transaction that is the subject of the action,
        and is so situated that the disposition of the action may as a practical matter
        impair or impede the movant’s ability to protect its interest, unless existing
        parties adequately represent that interest.

RCFC 24(a)(2) (emphasis added).


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circumstances that would require Benalytics to be denied full intervention rights. See RCFC
24(a). For these reasons, on December 11, 2009, the court granted Benalytics’ Motion to
Intervene.

       C.      Standard Of Review On A Motion Upon The Administrative Record.

        Pursuant to the Tucker Act, as amended by the Administrative Dispute Resolution Act,
Pub.L. No. 104-320, § 12, 110 Stat. 3870, 3874 (Oct. 19, 1996), the United States Court of
Federal Claims reviews challenges to agency decisions, pursuant to the standards set forth in the
Administrative Procedure Act, 5 U.S.C. § 706. See 28 U.S.C. § 1491(b)(4) (“In any action under
this subsection, the courts shall review the agency’s decision pursuant to the standards set forth
in section 706 of title 5.”); see also 5 U.S.C. § 706(2)(A) (“The reviewing court shall . . . hold
unlawful and set aside agency action, findings, and conclusions found to be . . . arbitrary,
capricious, an abuse of discretion, or otherwise not in accordance with law[.]”); Banknote Corp.
of Am. Inc. v. United States, 365 F.3d 1345, 1350 (Fed. Cir. 2004) (“Among the various APA
standards of review in section 706, the proper standard to be applied in bid protest cases is
provided by 5 U.S.C. § 706(2)(A): a reviewing court shall set aside the agency action if it is
‘arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.’”)
(citations omitted).

        The United States Court of Appeals for the Federal Circuit has held that a bid award may
be set aside if: “(1) the procurement official’s decision lacked a rational basis; or (2) the
procurement procedure involved a violation of regulation or procedure.” Weeks Marine, Inc. v.
United States, 575 F.3d 1352, 1358 (Fed. Cir. 2009) (quotations and citations omitted). When a
party’s challenge is based on regulatory or procedural violation, “the disappointed bidder must
show a clear and prejudicial violation of applicable statutes or regulations.” Axiom Res. Mgmt.,
564 F.3d at 1381 (quotations and citations omitted). This burden is even greater when the
procurement is a “best value” procurement, as is the case here. See Galen Med. Assocs., 369
F.3d at 1330 (“As the contract was to be awarded based on ‘best value,’ the contracting officer
had even greater discretion . . . [t]he relative merit of competing proposals is primarily a matter
of administrative discretion.”) (citations omitted); see also Unisys Corp. v. Widnall, 98 F.3d
1325, 1327 (Fed. Cir. 1996) (“In determining whether the agency has complied with the
regulation authorizing best value procurement, the [reviewing authority] may overturn an
agency’s decision if it is not grounded in reason.”).

        On the other hand, when the challenge is that an award decision was made without a
rational basis, the trial court must “determine whether the contracting agency provided a
coherent and reasonable explanation of its exercise of discretion, and the disappointed bidder
bears a heavy burden of showing that the award decision had no rational basis.” Centech Group,
Inc. v. United States, 554 F.3d 1029, 1037 (Fed. Cir. 2009); see also Savantage Fin.
Servs. v. United States, 595 F.3d at 1282, 1287 (Fed. Cir. 2010) (“We must sustain an agency
action unless the action does not evince rational reasoning and consideration of relevant
factors.”) (internal alterations, quotations and citations omitted).

      In the alternative, when the challenge is that the agency acted in an arbitrary or capricious
manner, the court may interfere with a federal procurement “only in extremely limited



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circumstances.” United States v. John C. Grimberg Co., Inc., 702 F.2d 1362, 1372 (Fed. Cir.
1983). This rule recognizes a zone of acceptable results in each particular case and requires that
the final decision reached by an agency is the result of a process that “consider[s] the relevant
factors” and is “within the bounds of reasoned decision making.” Baltimore Gas & Elec.
Co. v. Natural Res. Def. Council, Inc., 462 U.S. 87, 105 (1983); see also Weeks Marine, 575
F.3d at 1368-69 (“We have stated that procurement decisions invoke [] highly deferential
rational basis review . . . [u]nder that standard, we sustain an agency action evincing rational
reasoning and consideration of relevant factors.”) (quotations and citations omitted).

        A motion for judgment on the administrative record, pursuant to RCFC 52.1, is akin to an
expedited trial on the record and has no counterpart in the Federal Rules of Civil Procedure. See
RCFC 52.1, Rules Committee Note (July 13, 2009); see also Bannum, 404 F.3d at 1356 (“[T]he
judgment on an administrative record is properly understood as intending to provide for an
expedited trial on the record.”); A & D Fire Prot. v. United States, 72 Fed. Cl. 126, 131 (2006)
(“The resolution of RCFC 52.1 cross-motions is akin to an expedited trial on the paper record.”).
Accordingly, on a motion for judgment on the administrative record, the court first is required to
determine whether the plaintiff has met the burden of proof to show that the agency’s decision
was not in accordance with the law. See Bannum, 404 F.3d at 1357 (instructing the trial court to
make “factual findings under RCFC 56.1 from the [limited] record evidence as if it were
conducting a trial on the record”); see also Afghan Am. Army Servs. Corp. v. United States, 90
Fed. Cl. 341, 355 (2009) (“In reviewing cross-motions for judgment on the administrative
record, the court must determine ‘whether, given all the disputed and undisputed facts, a party
has met its burden of proof based on the evidence in the record.’”). The existence of a material
issue of fact, however, does not prohibit the court from granting a motion for judgment on the
administrative record, nor is the court required to conduct an evidentiary proceeding. See
Bannum, 404 F.3d at 1353-54 (“RCFC 56.1 requires the [United States] Court of Federal Claims,
when making a prejudice analysis in the first instance, to make factual findings from the record
evidence as if it were conducting a trial on the record.”).

IV.    CLAIMS RAISED BY PLAINTIFF’S DECEMBER 30, 2009 FIRST AMENDED
       COMPLAINT.

        The First Amended Complaint and BCA’s briefs in support assert a number of claims,
including that: the TEP improperly evaluated Benalytics’ financials; the TEP evaluated past
performance in a disparate manner; there was ambiguity about whether the receipt of
commissions for voluntary benefits was allowed; and Benalytics had an organizational conflict
of interest. Pl. Mot. at 13-22, 29-34; see also Pl. Resp. at 8-18. At oral argument, however,
BCA clarified and “distilled” these claims “into two legal arguments . . . One would be
misleading [agency] discussions, the other would be unequal treatment” of BCA’s and
Benalytics’ proposals. 4/7/10 TR at 14:24-15:3.

       A.      Misleading Agency Discussions Claims.

        BCA argues that the TEP misled BCA as to the acceptability of BCA’s final proposal, by
failing to inform BCA that the alternative financial data submitted instead of “A” ratings for




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providers and failure to provide eyeglass frame discounts prior to award were unacceptable, but
instead only asked questions about these items. 4/7/10 TR at 20:19-22; 21:13-20.

       BCA summarized the TEP’s misleading communications in this way:

       I liken it to if you wanted a car, and you wanted a fire-engine red car, and I
       brought you a maroon car, and you told me, well, why are you bringing me a
       maroon car, why can’t you bring me a different car, something like that – instead
       of telling me, no, no, no, I said fire-engine red. Instead, you’re asking me, well,
       why did you bring me maroon. And then I explain to you my facility has this
       kind of paint and that kind of paint, and we can put it together, and that’s why I
       brought you my maroon car. And then you turn around and say, oh, I don’t want
       it. Well, why don’t you want it? Well, it’s not fire-engine red. Well, why didn’t
       you tell me that? I could have fixed it.

4/7/10 TR at 32:15–33:3.

               1.      “A” Ratings.

                       a.     The Parties’ Arguments.

                              (1)     Plaintiff’s Argument.

        First, BCA asserts that the misleading communications concerned the Solicitation
requirements that proposed vision and dental providers must have an “A” rating. Pl. Resp. at 4.
Although BCA proposed all unrated dental and vision providers, the financial data provided to
the TEP confirmed that both would qualify as “A” rated or better. Id. at 4-6. The TEP, however,
never informed BCA that the proposed unrated providers were unacceptable and repeatedly
implied that the financial information submitted would be accepted in lieu of an actual rating. Id.
at 4 (citing AR at 1766). If the TEP refused to accept this surrogate information, at least, it
should have informed BCA so an “A” rated insurer could be substituted. Id. at 5; see also 4/7/10
TR at 20:14-22; 21:1-3. Allowing the TEP to reject the financial information of BCA’s
providers is placing form over substance. Pl. Resp. at 5-6 (citing Squires Timber Co., B-298859,
2006 CPD ¶ 181 (Comp. Gen. Dec. 1, 2006)).

                              (2)     The Government’s Response.

        The Government responds that the fact that BCA’s provider “sister companies” are “A”
rated is irrelevant, since the Solicitation required all providers to have an “A” rating. Gov’t Mot.
at 16. Therefore, it was not an abuse of discretion for the TEP to reject BCA’s attempt to
substitute financial data for actual compliance with the Solicitation. Id. Moreover, after this
problem was raised, BCA responded by simply resubmitting non-compliant financial statements
about BCA’s provider debt, reserves, and associations with rated companies, instead of
providing a comprehensive quantitative and qualitative evaluation that a rating agency would
have provided. Id. Since BCA failed to explain how its unrated providers met the “A” rating
requirement, a material requirement of the Solicitation was not met. Id. at 17-18.



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        BCA’s reliance on Squires Timber is misplaced. In that case, a bidder was disqualified,
because of an arithmetic error in an otherwise compliant proposal. Gov’t Mot. at 8-9. The court
should reject BCA’s argument that the TEP should have accepted provider sister companies’
ratings, because the Government is entitled to require that the subcontractor meet the
Solicitation’s requirements. Gov’t Reply at 9. BCA provided no information about the
relationship between proposed vision and dental providers and “sister companies” or the scope
and limitations of underwriting agreements or other legal obligations between them, rendering
these relationships irrelevant to BCA’s obligation to comply with the Solicitation. Id. For this
reason, the TEP did not act in an arbitrary or capricious manner in determining that [deleted] and
[deleted] failed to meet the “A” rating requirement. Id. at 10.

        Moreover, there is nothing in the Administrative Record to suggest the TEP misled BCA.
Id. at 6. BCA promised to provide “other financial audit info” regarding the proposed provider
when, in fact, it simply resubmitted information previously provided. Id. at 7. Agencies are not
required to “spoon-feed” offerors about deficiencies in their proposals. Id. If BCA believed the
“A” rating requirement was unduly restrictive, BCA was obligated to object when the
Solicitation was first issued. Id. at 8; see also 4/7/10 TR at 50:2-12.

                              (3)    Defendant-Intervenor’s Response.

        Benalytics adds that the Solicitation notified all parties that providers must have “A”
ratings. Int. Mot. at 9-10. After receiving notice of this requirement, BCA did not question the
requirement or ask whether the TEP would consider financially sound, but unrated, companies as
substitutes. Id. at 9. In any event, at no time prior to the contract award did BCA complain that
the “A” rating requirement was unduly restrictive or ambiguous. Id. at 9. Because BCA did not
protest the “A” rating requirement sooner, BCA’s current protest is untimely. Id.

        In the alternative, the TEP properly downgraded BCA’s proposal, because BCA failed to
provide insurance carriers with “A” ratings from accepted insurance industry rating firms. Int.
Mot. at 12-13. Although BCA submitted financial data for unrated providers, BCA glosses over
the fact that both were unrated and, therefore, BCA’s proposal did not satisfy the “A” rating
requirement. Id. The agency decided to rely on insurance ratings and properly downgraded
BCA’s proposal for failing to satisfy this requirement. Id. at 13. When the TEP questioned
BCA’s lack of “A” ratings, BCA confirmed that [deleted] and [deleted] were unrated. Id. at 11.
At the debriefing, the Contracting Officer also noted that “BCA failed to meet the [S]olicitation
requirement that all providers possess a minimum rating of ‘A’ or better.” AR at 2234.
Although [deleted]’s underwriter is “A” rated, BCA did not contract with the underwriter, it
contracted with [deleted]. Int. Mot. at 11.

                      b.      The Court’s Resolution.

        To support BCA’s misleading discussions claim regarding provider ratings, BCA relies
primarily on Metro Mach. Corp., B-281872, B-281872.2, B-281872.3, B-281872.4, 99-1 CPD
¶101 (Comp. Gen. April 22, 1999). See also 4/7/10 TR at 21:16-24:4. In that case, the
Solicitation required that the successful bid provide a “mooring location” within 90 miles of



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Jacksonville, that the disappointed bidder’s proposal complied with. Metro Mach., at *2. The
disappointed bidder, however, also offered to provide production services at a separate facility in
Norfolk. Id. at *4. The agency asserted that production facilities were to be located at or
relatively near Jacksonville as well. Id. The GAO found that there was “nothing in the above
RFP provisions that necessarily preclude[d] an offeror's use of a Norfolk production shop” to
provide distinct services other than mooring ships pending repair. Id. at *12. Therefore, the
GAO concluded that the procuring agency misled the protestor by asking questions about
mitigation instead of stating that an alternative facility for production services was not
acceptable. Id. In this case, however, the Solicitation explicitly required that all providers have
an “A” rating. AR at 33-34 (“The contractor shall provide dental [and vision] care from A rated
insurance companies or better.”).

        BCA elected, however, not to proffer providers that met the requirements of the
Solicitation. Accordingly, the TEP could have eliminated BCA at this juncture. See FAR
15.305(a) (stating that agencies must evaluate proposals “solely on the factors and subfactors
specified in the solicitation”); see also Ashbritt, Inc. v. United States, 87 Fed. Cl. 344, 374
(2009) (“Proposals must be evaluated in accordance with the terms of the [S]olicitation.”).
Instead, the TEP invited BCA to submit a final revised proposal and reminded BCA that it “did
not provide ratings for [deleted] or [deleted]. What are their ratings?” AR at 1799. Although
the TEP did not specifically warn BCA that it must use only providers with an “A” rating, the
TEP never suggested that BCA could satisfy the Solicitation’s requirements by submitting
alternative financial information. AR at 33-34, 1799.

       Under the FAR, if the government determines that discussions should be held,
discussions must be held with each offeror in the competitive range of a negotiated procurement.
48 C.F.R. § 15.306(d)(1). In addition,

       [a]t a minimum, the contracting officer must . . . indicate to, or discuss with, each
       offeror still being considered for award, deficiencies, significant weaknesses, and
       adverse past performance information to which the offeror has not yet had an
       opportunity to respond. The contracting officer also is encouraged to discuss
       other aspects of the offeror’s proposal that could, in the opinion of the contracting
       officer, be altered or explained to enhance materially the proposal’s potential for
       award.

48 C.F.R. § 15.306(d)(3).

        As a matter of law, however, the Contracting Officer “is not required to discuss every
area where the proposal could be improved. The scope and extent of discussions are a matter of
contracting officer judgment.” 48 C.F.R. § 15.306(d)(3). In this case, BCA was asked to
provide ratings as the Solicitation required. The fact that the TEP allegedly did not inform BCA
of the absolute necessity to provide the ratings, instead of alternative financial information, was
not misleading. In DMS All-Star Joint Venture v. United States, 90 Fed. Cl. 653 (2010), the
court recently recognized that caselaw from the United States Court of Federal Claims
“examining allegedly ‘misleading’ discussions is sparse.” Id. at 669. An “agency’s discretion in
holding discussions is not a license to mislead an offeror,” however, the discussions need not



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“address all aspects of a proposal that are less than optimal.” Id. at 669-70 (quotations and
citations omitted). The Administrative Record in this case does not support BCA’s allegations
that the TEP engaged in any conduct that was or could be construed as misleading.

        For these reasons, the court has determined that BCA’s misleading discussions claim
regarding the required “A” ratings for providers does not provide a sufficient legal basis to
sustain this protest.

               2.     Eyeglass Frame Discounts.

                      a.      The Parties’ Arguments.

                              (1)    Plaintiff’s Argument.

        BCA also argues the TEP misled BCA by not informing BCA that failure to comply with
the eyeglass frame discount requirement would disqualify BCA from being awarded the contract.
4/7/10 TR at 29:22-30:5; 30:20-31:14. Instead, the TEP asked only whether BCA would offer
such discounts. Pl. Resp. at 8. BCA’s principal, [deleted], verified via e-mail on July 15, 2009,
that the required eyeglass discounts would be offered, but not until BCA was awarded the
contract since [deleted] would have to contact each of the 15,000 providers individually to re-
negotiate discount terms. Id. at 7. In response to a similar question, Benalytics simply affirmed
it would comply with the Solicitation. Id. at 7-8. BCA, however, was downgraded for providing
more detail. Id. at 7-8.

                              (2)    The Government’s Response.

        The Government responds that BCA conceded that it was “impossible” to comply with
the Solicitation’s eyeglass frame discount requirement prior to award of the contract. Gov’t Mot.
at 18 (citing AR at 2153-54). Although BCA claims to have sent a clarification e-mail that
[deleted] would negotiate the required discount with contractors within three weeks after award
of the contract, the SEC has no record of receiving this e-mail. Id. at 19; see also 4/7/10 TR at
16:12-16. In any event, although BCA may have intended to offer an eyeglass frame discount
after the contract was awarded, a representation to that effect is not a substitute for compliance
with the Solicitation. Gov’t Reply at 10-11. Failure to so comply precludes BCA from being
awarded the contract and renders it impossible for BCA to show the necessary prejudice. Id. at
11-12.




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                             (3)     Defendant-Intervenor’s Response.

        Benalytics also argues that the TEP did not act in an arbitrary or capricious manner when
it downgraded BCA’s proposal, because BCA failed to include the required eyeglass frame
discounts. Int. Mot. at 13. BCA concedes that it initially failed to meet this requirement. Id.
When the TEP asked BCA for clarification, BCA responded that [deleted] would notify
providers, if BCA were awarded the contract. Id. at 13-14. Conversely, when the TEP asked
Benalytics a similar question, however, Benalytics responded that it would comply with the
Solicitation. Id. Although BCA may have wanted additional opportunities to address this issue,
the TEP’s downgrade of BCA’s proposal properly was within the agency’s discretion. Id.

                      b.     The Court’s Resolution.

        The Solicitation required that the SEC receive a minimum discount for in-network
eyeglass frames of 45% off usual and customary charges up to $130 and 80% of the balance over
$130. AR at 102. BCA’s proposal, however, only included a discount of [deleted] for frames up
to [deleted], plus [deleted] off the amount over [deleted]. AR at 2234. The TEP’s further
inquiry did not suggest that BCA’s non-compliance was acceptable. AR at 2153. Although the
Solicitation specified that the SEC reserved the right to waive “informalities and minor
irregularities” in proposals and make multiple awards, the agency also could reject any or all
proposals, if doing so was in the agency’s interest. AR at 83; see also FAR 15.305. Therefore,
the TEP’s decision to downgrade BCA’s final proposal, because of the failure of the proposal to
offer the minimum eyeglass frame discount, was well within the TEP’s discretion. Moreover,
the Administrative Record does not support BCA’s allegations that the TEP engaged in any
conduct that was or could be construed as misleading.

         For these reasons, the court has determined that BCA’s misleading discussions claim
regarding eyeglass frame discounts does not provide a sufficient legal basis to sustain this
protest.

       B.     Unequal/Disparate Treatment Claims.

        BCA also claims that the TEP treated BCA and Benalytics differently regarding the “A”
rating and eyeglass frame discount Solicitation requirements.

              1.      “A” Ratings.

                      a.     The Parties’ Arguments.

                             (1)     Plaintiff’s Argument.

        BCA argues that, although [deleted] was not rated, it was underwritten by [deleted] and
[deleted]. AR at 1852. Benalytics proposed Humana as a provider but, according to A.M. BEST,
Humana had no financial rating. See 4/7/10 TR at 25:14-26:19. Instead, the policies would be
underwritten by Humana Insurance Company, Humana Insurance Company of Kentucky, or
Humana Health Benefit Plan of Louisiana, Inc., all of which were “A” rated. AR at 2019.



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Therefore, technically both offerors proposed insurers that were not “A” rated, but that were
backed by “A” rated companies. Pl. Mot. at 23; see also 4/7/10 TR at 26:22-27:1 (“[B]ecause
both BCA and Benalytics proposed companies that either were not rated or had a lower rating
than was required. Both of them arguably [did not meet] the [S]olicitation.”). Accordingly, the
award to Benalytics was improper and should be set aside. Pl. Resp. at 19-20.

                              (2)    The Government’s Response.

        The Government responds that BCA failed to establish that Benalytics’ proposal did not
comply with the Solicitation. Gov’t Mot. at 14-15. Benalytics’ vision insurance carrier Humana
had an “A” rating, and was legally responsible for providing vision benefits, rendering the lack
of a rating for Humana’s subcontractor EyeMed irrelevant. Gov’t Reply at 13-14. Benalytics
and Humana were obligated to provide the services specified in the Solicitation irrespective of
EyeMed’s participation or withdrawal. Id. at 14. The TEP’s refusal to accept the ratings of
[deleted]’s sister companies and acceptance of the “A” rated Humana was consistent with the
terms of the Solicitation. Id. In this case, Benalytics’ offer provided that all of the insurance
carriers Benalytics planned to utilize had an “A” rating. AR at 1981. On the other hand,
[deleted] and [deleted] were not independently rated. AR at 1852, 1972. Therefore, BCA’s
argument that these insurance carriers should receive ratings based upon affiliates that were not
serving as the contractual insurance carrier contradicts the Solicitation’s instruction to provide
dental and vision care from “A” rated insurance companies. AR at 33-34.

                              (3)    Defendant-Intervenor’s Response.

       Benalytics’ named “A” rated Humana Vision as its vision provider. Int. Mot. at 26.
Although Humana Vision uses EyeMed Vision Care, a non “A” rated provider, Benalytics
subcontracted with Humana Vision, the responsible party under the contract. Id. Moreover,
Humana Vision was obligated to resolve any problems that may arise with EyeMed Vision Care,
such as finding another provider or using one of its own providers. Id.

        In effect, BCA wants the court to find that Benalytics failed to comply with the
Solicitation and also that BCA merits a higher rating. Id. at 32-33. The TEP properly evaluated
both proposals in accordance with the Solicitation. Id. at 33. BCA’s disagreement with the
TEP’s evaluation does not establish the lack of rational basis necessary to overturn the contract
award to Benalytics. Id.

                      b.      The Court’s Resolution.

        BCA admits that there is no evidence in the Administrative Record that Benalytics
proposed providers that were not “A” rated. 4/7/10 TR at 25:23-26:1 (“Now I will say, in the
interest of full disclosure, the government didn’t recognize that [The Delta Concern, Inc.] was
B++ rated. It’s not in the record.”). In the bid protest context, however, “the focal point for
judicial review should be the administrative record already in existence, not some new record
made initially in the reviewing court.” Camp v. Pitts, 411 U.S. 138, 142 (1973). The court,
therefore, must assess the reasonableness of procurement decisions, in the first instance, based
only on information considered by the agency in reaching a decision. See Axiom Res. Mgmt.,



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564 F.3d at 1381 (“The focus of judicial review of agency action remains the administrative
record, which should be supplemented only if the existing record is insufficient to permit
meaningful review consistent with the APA.”). Therefore, BCA’s unfair/disparate treatment
claim regarding Benalytics’ provider ratings has no support in the Administrative Record.

        For this reason, the court has determined that BCA’s unequal/disparate treatment claim
regarding the required “A” ratings for providers does not provide a sufficient legal basis to
sustain this protest.

               2.      Eyeglass Frame Discounts.

                       a.     The Parties’ Arguments.

                              (1)     Plaintiff’s Argument.

        Finally, BCA argues that despite the TEP’s determination that Benalytics “met and/or
exceeded all the minimum requirements and [earned] an overall rating of Commendable,”
Benalytics’ proposal had several inconsistencies that call this rating into question. Pl. Mot. at
17-18 (citing AR at 2014, 2160, 2096); see also 4/7/10 TR at 33:9-36:3. Both the Government
and Benalytics concede that Benalytics’ proposal was inconsistent and ambiguous as to whether
it met the minimum requirements for eyeglass frame discounts. Pl. Resp. at 17. In addition, the
TEP’s willingness to take additional steps to clarify Benalytics’ proposal evidences disparate
treatment, because the TEP did not extend this same opportunity to BCA. Id. For example,
Benalytics was asked directly whether its proposal met the minimum requirements, whereas
BCA was asked open-ended questions. Id. In addition, the TEP’s failure to conduct multiple
rounds of questioning with BCA, as it did with Benalytics, denied BCA equal treatment. Id. at
18-19. If the TEP had treated BCA the same as Benalytics, the TEP would not have downgraded
BCA’s proposal and BCA would have been awarded the contract. Id.

        Although Benalytics’ representations in the “Dental and Vision Benefits Matrix” appear
to meet the Solicitation’s requirements, other proposal information contradicts that matrix or
creates a significant doubt about Benalytics’ compliance with the Solicitation. Pl. Mot. at 17.
Specifically, Benalytics’ proposal indicates that it offered a $90 co-pay for lenticular lenses, but
Humana Vision, the actual provider, does not list lenticular lenses in its coverage. Id. (citing AR
at 2133). In addition, Benalytics claims to conform to the Solicitation’s requirement that dental
and vision premiums must remain constant, unless SEC enrollment increases by 20% or more.
Id. at 18. Humana Dental, however, only guaranteed rates for two of the contract’s four years,
provided that enrollment does not increase by 10% or more. Id. at 17-18 (citing AR at 2014,
2096); see also 4/7/10 TR at 35:7-11 (“[I]t was arbitrary and capricious for the agency to note
that [BCA] failed to comply with a particular eyeglass frame discount and failed to note that
similarly Benalytics [also] failed to comply with other similar requirements.”).

                              (2)     The Government’s Response.

        The Government responds that the Solicitation only requires a discount for complete
pairs of glasses, that Benalytics confirmed it would provide. Gov’t Reply at 14-15; see also AR



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at 90 (“Additional Eyewear . . . 45% off complete pairs of glasses after initial benefit has been
used.”). Although BCA alleges that Benalytics’ proposal contained inconsistencies that would
prevent it from meeting the minimum requirements of the Solicitation, namely ambiguity
regarding: coverage for lenticular eyeglass lenses and coverage for contact lens fitting; follow-up
appointments; and disposable lenses, the Administrative Record establishes that Benalytics met
all the Solicitation’s requirements, as confirmed by discussions with Benalytics and Humana.
AR at 1773-74, 2155, 5136.

        The Administrative Record also shows that the TEP reached out to both offerors in a
single set of clarification discussions. AR at 1774-75. Under the FAR, the TEP was entitled to
tailor discussions to each offeror’s proposal but end discussions with BCA, when BCA made it
clear that it could not comply with the eyeglass frame discount requirement. See 48 C.F.R. §
15.306(d)(5) (“If, after discussions have begun, an offeror originally in the competitive range is
no longer considered to be among the most highly rated offerors being considered for award, that
offeror may be eliminated from the competitive range whether or not all material aspects of the
proposal have been discussed, or whether or not the offeror has been afforded an opportunity to
submit a proposal revision (see 15.307(a) and 15.503(a)(1)).”).

                              (3)     Defendant-Intervenor’s Response.

       Benalytics’ proposal complied with the Solicitation and was not ambiguous. Int. Mot. at
17. Although BCA points to inconsistencies in the pricing change mechanism of Benalytics’
proposal, the proposal’s Schedule controls, because FAR 52.215-8(a) provides that the Schedule
takes precedence in the Uniform Contract Format. Id. at 19. Therefore, Benalytics’ proposal
was not ambiguous and the SSA properly made the award to Benalytics, relying on the Schedule
pricing sheets. Id. Unless Benalytics could not comply with the Solicitation, the court should
leave agency’s decision undisturbed. Id.

                      b.      The Court’s Resolution.

        BCA correctly notes that Benalytics’ Final Revised Proposal has conflicting provisions
on when prices will be renegotiated. In Section B, Pricing/Costs, of the proposal, Benalytics
states that “[i]f the SEC’s population exceeds 20 percent, prices will be renegotiated.” AR at
2005. The proposal, however, in sections Benalytics’ providers, Humana Dental and Humana
Vision, prepared for the proposal, states that “[i]f enrollment changes by +/- 10 percent from the
quoting enrollment . . . [Humana] reserves the right to re-evaluate rates.” AR at 2014; see also
AR at 2096 (reserving the right to adjust rates effective January 1, 2010).

       During discussions, however, Benalytics clarified both verbally and in an e-mail that it
would comply with all Solicitation requirements. AR at 2155 (“I would like to officially confirm
in writing that the revised Humana Dental Plan that was submitted on July 13, 2009 was
intended to match the SEC specifications as well as all addenda.”); see also AR at 5136 (“This
confirms our verbal discussion a few minutes ago – we are matching the minimum
requirements.”).




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        As a matter of law, however, the pricing information in Benalytics’ Schedule takes
precedence over any conflicting information under the Uniform Contract Format. See 48 C.F.R.
§ 52.215-8(a).9 Therefore, it was within the TEP’s discretion to conclude that Benalytics’
proposal complied with all Solicitation requirements. BCA also argues that Benalytics proposed
a 45% discount for eyeglass frames, but only if the employee was purchasing a full pair of
eyeglasses, not just frames, as the Solicitation required. AR at 2019. Again, BCA correctly
argues that Benalytics’ proposal is inconsistent with respect to whether Benalytics complied with
the discount for eyeglass frames. AR at 2019 (“Frame, lenses, and lens option discounts apply
only when purchasing a complete pair of eyeglasses. If purchased separately, members receive
20% off the retail price.”); see also AR at 2133 (stating that Benalytics’ proposal will comply
with Solicitation and offer “45% off usual and customary charges up to $130; 80% of balance
over $130.”). Benalytics, however, confirmed in writing, after discussions with the TEP, that it
would match all minimum Solicitation requirements. See AR at 5136. The TEP’s subsequent
decision to downgrade BCA’s final proposal, without affording BCA the opportunity to submit a
revised proposal, however, did not demonstrate disparate treatment. At that juncture, the TEP
could eliminate BCA from the competitive range, if it determined that BCA could or would not
comply with the eyeglass frame discount requirement. See 48 C.F.R. § 15.306(d)(5).

         For these reasons, the court has determined that BCA’s unequal/disparate treatment claim
regarding eyeglass frame discounts does not provide a sufficient legal basis to sustain this bid
protest.




       9
           FAR 52.215-8(a) provides, in relevant part:

       Any inconsistency in this solicitation or contract shall be resolved by giving
       precedence in the following order:
       (a) The Schedule (excluding the specifications).
       (b) Representations and other instructions.
       (c) Contract clauses.
       (d) Other documents, exhibits, and attachments.
       (e) The specifications.

48 C.F.R. § 52.215-8(a).


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V.     CONCLUSION.

       For the reasons discussed herein, Plaintiff’s December 30, 2009 Motion For Judgment On
The Administrative Record is denied. The Government’s January 20, 2010 Cross-Motion For
Judgment On The Administrative Record is granted. Benalytics’ January 20, 2010 Motion for
Judgment on the Administrative Record is moot. The Clerk of the United States Court of
Federal Claims is directed to enter judgment in favor of the Government.

       IT IS SO ORDERED.

                                                         _s/Susan G. Braden _
                                                         SUSAN G. BRADEN
                                                         Judge




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